1                                                        HONORABLE FREDERICK P. CORBIT
      Jeremy E. Roller, WSBA No. 32021
2     ARETE LAW GROUP PLLC
      600 University Street, Suite 2420
3     Seattle, WA 98101
      Phone: (206) 428-3250
4     Fax: (206) 428-3251
      jroller@aretelaw.com
5
      Matthew J. Livingston, Esq.*
6     Reid & Wise LLC
      One Penn Plaza, Suite 2015
7     New York, NY 10119
      Phone: (212) 858-9982
8     mlivingston@reidwise.com
      *Admitted Pro Hac Vice
9
      Attorneys for EB-5 Plaintiffs
10

11                            UNITED STATES BANKRUPTCY COURT
12                            EASTERN DISTRICT OF WASHINGTON
      In re                                            Chapter 11
13
      1 MIN, LLC; HOTEL AT SOUTHPORT,                  Lead Case No. 24-01519
14
      LLC; and TWELFTH FLOOR, LLC,                     (Jointly Administered)
15
                                      Debtors.         LIMITED OBJECTION TO
16                                                     JOINT PLAN & DISCLOSURE
                                                       STATEMENT & RESERVATION
17                                                     OF RIGHTS

18
              Plaintiffs Lan Cai, Shujie Chen, Tianran Chen, Weijun Chen, Jie Chu, Zhaojun
19
      Cong, He Cui, Jianying Ding, Jichun Du, Qing Du, Jieying Feng, Yupeng Gao, Yiran
20
      Han, Jinyang Hu, Naixin Hu, Xiao Huang, Junmei Jin, Xin Meng, Weihong Lu,
21
      Yuanyuan Ma, Min Pan, Lei Pei, Hao Qi, Xiao Rong, Juan Shao, Hui Wang, Jingyi
22
      Wang, Yuquan Wang, Zidong Wang, Rongrong Wu, Zhaohui Xu, Qi Xu, Jie Yan, Ke
23


        EB-5 PLAINTIFFS’ LIMITED OBJECTION TO JOINT PLAN
        AND DISCLOSURE STATEMENT & RESERVATION OF
        RIGHTS
        No. 24-01519 – Page 1
     24-01519-FPC11 Doc 98 Filed 10/31/24 Entered 10/31/24 14:08:06        Pg 1 of 9
1     Yang, Qin Yang, Hongyun Yu, Shuxian Zeng, Xiaohong Zhang, Ying Zhao, Minbo
2     Zhou, Nan Zhou, Huiqing Zhu, Ziling Zeng, Luyi Zhang, Jundi Liang, Tao Li, Yun
3     Cai, Hongliang Tang, Jie Tang, Wenlung Chen, Shi Zhang, Jun Che, Dahe Zhang, Shan
4     Wan, Xiaohong Sun, Yan Lyu a/k/a Yan Lu, Wenyan Wang, Jialin Tian, and Rui Tang,
5     (collectively, the “EB-5 Plaintiffs”), plaintiffs in Case No. 24-2-04850-2 filed prior to
6     the Petition Date in the Superior Court of the State of Washington, King County against
7     each of the Debtors in the above-captioned cases, hereby file this Limited Objection to
8     the Joint Plan and Disclosure Statement & Reservation of Rights (the “Limited
9     Objection”) for the express purposes of ensuring adequate reserves are established
10    under the Debtors’ proposed Joint Plan of Reorganization (the “Plan”) [ECF No. 9]. At
11    the time of the filing of this Limited Objection, and assuming no substantive changes
12    are made to the proposed Plan, the EB-5 Plaintiffs are not objecting to the terms of the
13    proposed sale as set forth in the Plan, including the proposed sale price and timeline.
14    However, the EB-5 Plaintiffs have valuable claims against each Debtor that are
15    unlikely to be liquidated prior to the proposed sale closing and therefore require
16    adequate protection of their claims via the establishment of sufficient reserves at all
17    three Debtors to satisfy any ultimately Allowed Claims held by the EB-5 Plaintiffs
18    against the Debtors. Without these sufficiently funded disputed claim reserves, the
19    proposed Plan is unconfirmable as it would unfairly discriminate against the EB-5
20    Plaintiffs and violate Bankruptcy Code §1129(b)(1).
21       I.     FACTUAL BACKGROUND & EB-5 LITIGATION
22             EB-5 Plaintiffs are fifty-nine (59) foreign investors who invested $500,000 to
23    become limited partners in Southport Hotel EB-5 LP (the “EB-5 Partnership”) and seek

        EB-5 PLAINTIFFS’ LIMITED OBJECTION TO JOINT PLAN
        AND DISCLOSURE STATEMENT & RESERVATION OF
        RIGHTS
        No. 24-01519 – Page 2
     24-01519-FPC11 Doc 98 Filed 10/31/24 Entered 10/31/24 14:08:06            Pg 2 of 9
1     legal immigration status through this investment and the U.S. Government’s EB-5
2     investor immigration program. The EB-5 Partnership ultimately made a loan to Debtor
3     Hotel at Southport, LLC, which was allegedly used for constructing the Hyatt Regency
4     Hotel (the “Hotel”) in Renton, Washington, which, along with the land underlying the
5     Hotel, is the primary asset of the Hotel Debtor entity.
6           At the request of the Court, a copy of the Second Amended Complaint (the
7     “Amended Complaint”) was filed on the Court docket at ECF No. 48-1. While EB-5
8     Plaintiffs need not fully detail the causes of actions and legal bases underlying EB-5
9     Plaintiffs’ claims as set forth in the Amended Complaint, for purposes of this Limited
10    Objection, the critical elements of the Amended Complaint are as follows:
11       • EB-5 Plaintiffs assert claims against all three Debtors and additional non-debtor
12          defendants, including Mr. Michael Christ in his personal capacity as the ultimate
13          equity owner of the Debtors. Am. Compl. ¶¶12-20.
14       • EB-5 Plaintiffs assert that such claims are joint and several as against all
15          defendants, including each Debtor in these cases. Am. Compl., p. 2.
16       • EB-5 Plaintiffs assert damages of no less than $32.45 million on a joint and
17          several basis against each defendant. Id.; and
18       • As of the filing date of these Chapter 11 cases, the EB-5 Litigation was in its
19          preliminary stages, with no substantive discovery or dispositive motions filed to
20          date.
21    Given these facts, EB-5 Plaintiffs have potential claims against each Debtor in excess
22    of $32 million. Due to the imposition of the Bankruptcy Code §362 automatic stay and
23    the unliquidated nature of these claims, there is effectively no scenario in which these

        EB-5 PLAINTIFFS’ LIMITED OBJECTION TO JOINT PLAN
        AND DISCLOSURE STATEMENT & RESERVATION OF
        RIGHTS
        No. 24-01519 – Page 3
     24-01519-FPC11 Doc 98 Filed 10/31/24 Entered 10/31/24 14:08:06           Pg 3 of 9
1     claims will be litigated to judgment or settled prior to the Effective Date of the
2     proposed Plan. As a result, EB-5 Plaintiffs assert that, absent allowance, disallowance
3     or estimation of such claims pursuant to Bankruptcy Code section 502(c), the Plan must
4     reserve the claims in the full asserted amount of such claims.
5               Notwithstanding the Limited Objection regarding the establishment of sufficient
6     reserves to protect the EB-5 Plaintiff Claims, the EB-5 Plaintiffs are approaching these
7     cases in good faith and do not currently object to the substance of the proposed sale as
8     memorialized in the proposed Plan, including the identity of the Purchaser or the Sale
9     Price. While the proposed timeline for the sale may conflict with the allowance,
10    disallowance or estimation for reserve purposes of the EB-5 Plaintiff Claims, the EB-5
11    Plaintiffs believe that with good faith efforts by all interested parties to address the fair
12    valuation and allowance of the EB-5 Plaintiff Claims, the proposed sale timeline will
13    not need to be adjourned or otherwise delayed.
14        II.       LIMITED OBJECTION
15              The EB-5 Plaintiffs’ limited objection is a straightforward and narrow one: the
16    EB-5 Plaintiffs, as creditors of each of the Debtors with disputed, unliquidated and
17    contingent claims, require that the Disputed General Unsecured Claims Reserve set
18    forth in Article V.G.3 of the Plan is adequately funded as of the Effective Date of the
19    Plan with a reserve amount sufficient to satisfy any EB-5 Plaintiff Claims ultimately
20    allowed against the three Debtors.1 The current proposed Plan has no actual
21
                1
                 While at the time of the filing of this Limited Objection the EB-5 Plaintiffs submit that the full
22    amount of the damages asserted in the EB-5 Complaint ($32.45 million) should be reserved at the Hotel Debtor
      entity, the EB-5 Plaintiffs are in settlement discussions with the Debtors and are potentially amenable to an
23    agreed reserve amount that would protect the EB-5 Plaintiffs’ right to receive distributions for any Allowed
      Claims against each Debtor, but still permit the proposed sale to proceed on the current proposed sale timeline

        EB-5 PLAINTIFFS’ LIMITED OBJECTION TO JOINT PLAN
        AND DISCLOSURE STATEMENT & RESERVATION OF
        RIGHTS
        No. 24-01519 – Page 4
     24-01519-FPC11 Doc 98 Filed 10/31/24 Entered 10/31/24 14:08:06                            Pg 4 of 9
1     protections for holders of disputed claims such as the EB Plaintiffs, but instead simply
2     requires the Debtors to provide a reserve amount for each category of reserves based on
3     the Debtors’ own “reasonable estimate” of the amount of each such disputed claim:
4
                     (h) in connection with establishing a reserve for the payment of any
5                    such Disptued Claim that may be subsequently Allowed (the “Disputed
                     General Unsecured Claims Reserve”), a schedule, broken down by Debtor,
6                    of all General Unsecured Claims in Class 4 that are (or are expected to be)
                     Disptued and a reasonable estimate of the amount of each such Claim,
7                    (when finalized, the “Disputed General Unsecured Claims Reserve
8                    Projection”);
              Plan, Article V.G.3(h) (emphasis added)
9
      Debtors have already filed an objection to the EB-5 Plaintiff Claims [ECF No. 89] (the
10
      “EB-5 Plaintiff Claim Objection”) and therefore EB-5 Plaintiffs will reasonably assume
11
      that Debtors’ “reasonable” estimate of the EB-5 Plaintiff Claims for purposes of
12
      establishing and funding the Disputed General Unsecured Claims Reserve in
13
      accordance with Article V.G.3(h) of the Plan will be $0 or a de minimis reserve
14
      amount.
15
             While EB-5 Plaintiffs do not believe that Debtors or other interested parties will
16
      take the position that disputed claim reserves in general are inappropriate in Chapter 11
17
      cases, given the current proposed Plan includes multiple disputed claim reserves, EB-5
18
      Plaintiffs note that it is a well-settled principle of bankruptcy law that disputed claim
19
      reserves must be adequately funded with “sufficient assets to pay disputed claims” and
20
      that to discriminate against creditors solely because they hold disputed claims
21

22
      and potentially avoid impairment of other creditors of the Hotel Debtor and Mezz Debtor. See EB-5 Compl., p.
23    20. [ECF No. 48-1].

        EB-5 PLAINTIFFS’ LIMITED OBJECTION TO JOINT PLAN
        AND DISCLOSURE STATEMENT & RESERVATION OF
        RIGHTS
        No. 24-01519 – Page 5
     24-01519-FPC11 Doc 98 Filed 10/31/24 Entered 10/31/24 14:08:06                          Pg 5 of 9
1     constitutes unfair discrimination for purposes of Bankruptcy Code §1129(b)(1). See,
2     e.g., In re Motors Liquidation Co., 447 B.R. 198 (Bankr. S.D.N.Y. 2011) (“Of course
3     it’s true, as the Nova Scotia Noteholders observe, that courts in this and other
4     jurisdictions have required debtors to establish reserves with assets sufficient to pay
5     disputed claims in full to allow creditors full pro rata recovery on their claims.”); In Re
6     ARN LTD. Ltd. P’ship, 140 B.R. 5, 13 (Bankr. D.D.C. 1992) (holding that fact that
7     large disputed claims are disputed “is not justification for discriminatory treatment”); In
8     re Chemtura Corp., 448 B.R. 635, 651 (Bankr. S.D.N.Y. 2011) (establishing reserve
9     funds for disputed claims and requiring significant funding of such reserves of at least
10    20% higher than debtors’ highest estimates of liability). One common solution to this
11    problem is Bankruptcy Code §502(c) estimation of claims. 11 U.S.C. §502(c).
12          Here, for purposes of Plan confirmation, EB-5 Plaintiffs are not asking that the
13    Court fully allow their claims against each Debtor in the full $32.45 million amount
14    asserted in the Amended Complaint, but instead simply requesting that either (i) the
15    Court require modification of the Plan provisions permitting the Debtors to unilaterally
16    establish the amount of the various disputed claim reserves based on the Debtors’ own
17    views of what “reasonable” reserve amounts are or (ii) the Court require that the EB-5
18    Plaintiff Claims be allowed, disallowed, or estimated for distribution purposes under
19    Bankruptcy Code Section 502(c) prior to any distributions being made under the Plan
20    that would likely prejudice the recoverable amount for any claims ultimately allowed
21    against the Debtors on account of the EB-5 Plaintiff Claims.
22

23


        EB-5 PLAINTIFFS’ LIMITED OBJECTION TO JOINT PLAN
        AND DISCLOSURE STATEMENT & RESERVATION OF
        RIGHTS
        No. 24-01519 – Page 6
     24-01519-FPC11 Doc 98 Filed 10/31/24 Entered 10/31/24 14:08:06            Pg 6 of 9
1        III.   PROPOSED PLAN MODIFICATION & RESOLUTION OF LIMITED
                OBJECTION
2
            While EB-5 Plaintiffs are willing to negotiate in good faith on an estimated or
3
      allowed claim amount at each debtor on account of the EB-5 Plaintiff Claims, they are
4
      not willing at this time to accept on faith that the Debtors will not move forward with
5
      the sale process without properly reserving for the EB-5 Plaintiff Claims. As such, for
6
      purposes of Plan Confirmation, the EB-5 Plaintiffs submit that the Plan and
7
      Confirmation Order should be revised to specifically ensure that the Disputed General
8
      Unsecured Creditors Reserve mechanism set forth in Article V of the Plan is not the
9
      means by which the EB-5 Plaintiff Claims are effectively rendered valueless before
10
      they can be properly adjudicated. EB-5 Plaintiffs have shared proposed Plan and
11
      Confirmation Order revisions with counsel to the Debtors and are hopeful that the
12
      Debtors can make these slight modifications to the proposed Plan to potentially resolve
13
      this Limited Objection prior to the Confirmation Hearing.
14
            As a practical matter, EB-5 Plaintiffs believe there are three reasonable routes to
15
      resolve this Limited Objection without unduly delaying the proposed Plan confirmation
16
      and sale process:
17
            1) The Debtors and EB-5 Plaintiffs can agree on appropriate Disputed General
18
                Unsecured Claim reserve amounts (or Allowed Claim amounts) at each
19
                debtor that would ensure appropriate potential recovery for EB-5 Plaintiff
20
                Claims if allowed, which would eliminate any concern from the EB-5
21
                Plaintiffs concerning distributions that may otherwise render the EB-5
22
                Plaintiff claims valueless;
23


        EB-5 PLAINTIFFS’ LIMITED OBJECTION TO JOINT PLAN
        AND DISCLOSURE STATEMENT & RESERVATION OF
        RIGHTS
        No. 24-01519 – Page 7
     24-01519-FPC11 Doc 98 Filed 10/31/24 Entered 10/31/24 14:08:06           Pg 7 of 9
1           2) The Court can estimate the EB-5 Plaintiff Claims against each Debtor
2                pursuant to Bankruptcy Code §502(c) for purposes of distribution prior to the
3                Effective Date of the Plan and such estimated claim amounts will constitute
4                the exact reserve amount that the Debtors must reserve on account of the EB-
5                5 Plaintiff Claims, if any; or
6           3) The EB-5 Plaintiff Claims can be allowed or disallowed by final order of the
7                Court prior to the Effective Date of the Plan, thereby resolving the issue prior
8                to any distributions being made under the proposed Plan.
9           Finally, EB-5 Plaintiffs note that debtors’ counsel has been constructively
10    working with counsel to the EB-5 Plaintiffs to negotiate a potential consensual
11    resolution to this Limited Objection. Subject to Federal Rules of Evidence §408, the
12    parties have exchanged revisions to the proposed Plan and Confirmation Order that the
13    parties expect may lead to a consensual confirmation hearing, subject to final sign-off
14    from EB-5 Plaintiffs and the Debtors on any additional changes to the Plan and
15    Confirmation Order. Should the parties reach a consensual resolution prior to the
16    Confirmation Hearing, counsel will inform the Court that this Limited Objection has
17    been resolved for purposes of plan confirmation
18       IV.     RESERVATION OF RIGHTS
19          The EB-5 Plaintiffs reserve all rights with respect to any further Plan, Disclosure
20    Statement or Confirmation Order, including the right to amend or supplement this
21    Limited Objection in response to any proposed changes to the Plan, Disclosure
22    Statement or Confirmation Order made by Debtors prior to or at the Confirmation
23    Hearing.

        EB-5 PLAINTIFFS’ LIMITED OBJECTION TO JOINT PLAN
        AND DISCLOSURE STATEMENT & RESERVATION OF
        RIGHTS
        No. 24-01519 – Page 8
     24-01519-FPC11 Doc 98 Filed 10/31/24 Entered 10/31/24 14:08:06            Pg 8 of 9
1        V.      CONCLUSION
2             For the foregoing reasons, EB-5 Plaintiffs respectfully request that the Court
3     require that the Debtors modify the proposed Plan and Confirmation Order to establish
4     sufficient reserves with adequate assets to satisfy any ultimately Allowed Claims held
5     by the EB-5 Plaintiffs.
6

7     Dated this 31st day of October, 2024.
8      REID & WISE LLC                           ARETE LAW GROUP PLLC

9      By: /s/ Matthew J. Livingston             By: /s/ Jeremy E. Roller
       Matthew J. Livingston (Admitted Pro Hac   Jeremy E. Roller, WSBA No. 32021
10     Vice)                                     600 University Street, Suite 2420
       One Penn Plaza, Suite 2015                Seattle, WA 98101
11     New York, NY 10119                        Phone: (206) 428-3250
       Phone: (212) 858-9982                     Fax: (206) 428-3251
12     mlivingston@reidwise.com                  jroller@aretelaw.com

13     Counsel, Attorney for EB-5 Creditors      Local Counsel, Attorney for EB-5
                                                 Creditors
14

15

16

17

18

19

20

21

22

23


        EB-5 PLAINTIFFS’ LIMITED OBJECTION TO JOINT PLAN
        AND DISCLOSURE STATEMENT & RESERVATION OF
        RIGHTS
        No. 24-01519 – Page 9
     24-01519-FPC11 Doc 98 Filed 10/31/24 Entered 10/31/24 14:08:06                 Pg 9 of 9
